

Matter of Alisha B. v Dominique S. (2023 NY Slip Op 05677)





Matter of Alisha B. v Dominique S.


2023 NY Slip Op 05677


Decided on November 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2023

Before: Manzanet-Daniels, J.P., Oing, Scarpulla, Rodriguez, Higgitt, JJ. 


Docket No. F3086/18 Appeal No. 1013 Case No. 2022-04222 

[*1]In the Matter of Alisha B., Petitioner-Respondent,
vDominique S., Respondent-Appellant.


Richard L. Herzfeld, P.C., New York (Richard L. Herzfeld of counsel), for appellant.
Stephen David Fink, Forest Hills, for respondent.



Order, Family Court, New York County (Maria Arias, J.), entered on or about August 10, 2022, which confirmed the Support Magistrate's finding of a willful violation of an order of support, unanimously affirmed, without costs.
Respondent father failed to rebut petitioner mother's prima facie evidence of willful violation because he failed to present competent medical evidence that he was unable to perform work of any kind (see Matter of Jennifer D. v Artise C.J., 154 AD3d 578, 578 [1st Dept 2017]). His submission of an unaffirmed letter from a doctor was insufficient to establish his inability to work. In any event, the unaffirmed letter applied only to part of the relevant time period in which the father was not paying any child support. Nor did the father offer proof of his efforts to find any type of work before his alleged accidents in 2019 and 2020, but rather, blamed his unemployment on multiple factors, including the fact that he was not vaccinated against COVID (see Elba S. v Sadrud-Din S., 121 AD3d 550, 551 [1st Dept 2014]).
Family Court providently denied the father's request for an adjournment to get a further medical examination (see Matter of Angie N.W. [Melvin A.W.], 107 AD3d 907, 908-909 [1st Dept 2013]).
We have considered and rejected the father's remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2023








